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                         Intervenors METROPOLITAN LIFE INSURANCE
                     7   COMPANY, BRIGHTHOUSE LIFE INSURANCE
                         COMPANY, and METLIFE REAL ESTATE
                     8   LENDING LLC

                     9                                    UNITED STATES DISTRICT COURT

                    10                                EASTERN DISTRICT OF CALIFORNIA

                    11                                          FRESNO DIVISION
                    12

                    13   THE PRUDENTIAL INSURANCE                               Case No. 1:24-cv-01102-KES-SAB
                         COMPANY OF AMERICA; and PGIM REAL
                    14   ESTATE FINANCE, LLC,                                   OBJECTION BY INTERESTED THIRD
                                                                                PARTIES AND POTENTIAL
                    15                      Plaintiffs,                         INTERVENORS METROPOLITAN
                                                                                LIFE INSURANCE COMPANY,
                    16          v.                                              BRIGHTHOUSE LIFE INSURANCE
                                                                                COMPANY, AND METLIFE REAL
                    17   ACDF, LLC; ASSEMI AND SONS, INC.;                      ESTATE LENDING LLC RE
                         AVILA RANCH EA, LLC; BEAR FLAG                         [PROPOSED] ORDER APPOINTING
                    18   FARMS, LLC; C & A FARMS, LLC;                          RECEIVER WITH LIMITED
                         CANTUA ORCHARDS, LLC; DA REAL                          AUTHORITY
                    19   ESTATE HOLDINGS, LLC; FAVIER
                         RANCH, LLC; FG2 HOLDINGS LLC;                          [DKT. 33]
                    20   GRADON FARMS, LLC; GRANVILLE
                         FARMS, LLC; GRANTLAND HOLDINGS
                    21   NO. 1, LLC; GRANTLAND HOLDINGS NO.
                         2, LLC; GRANTOR REAL ESTATE
                    22   INVESTMENTS, LLC; GVM
                         INVESTMENTS, LLC; GV AG, LLC;
                    23   LINCOLN GRANTOR FARMS, LLC;
                         MARICOPA ORCHARDS, LLC; PANOCHE                        Date Action Filed: September 16, 2024
                    24   PISTACHIOS, LLC; SAGEBERRY FARMS,
                         LLC; DEREK BELL; and RACHEL MARIE
                    25   WHITE,
                    26                      Defendants.
                    27

                    28
STOEL RIVES LLP          OBJECTION TO [PROPOSED]
 ATTORNEYS AT LAW
   SACRAMENTO
                         ORDER APPOINTING RECEIVER                        -1-                                           _____
                         WITH LIMITED AUTHORITY
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                     1                    OBJECTION BY INTERESTED THIRD PARTIES OF RECORD

                     2             Pursuant to the Court’s September 23, 2024 Minute Order re Docket No. 33, Interested

                     3   Third Parties Metropolitan Life Insurance Company (“MetLife”), MetLife Real Estate Lending

                     4   LLC, and Brighthouse Life Insurance Company (collectively “MetLife Entities”), respectfully

                     5   lodge this limited objection to the Agreed [Proposed] Order Appointing Receiver With Limited

                     6   Authority (“Proposed Order”). (Dkt. # 33). MetLife Entities hereby attempt to express the problem

                     7   with, and propose a solution to, the form of Proposed Order.

                     8             1.        The Problem with the Proposed Order.

                     9             MetLife Entities are interested third parties that possess record interests on title, including

                    10   priority lien interests, to Receivership Property. (See Dkt # 27). The Proposed Order – giving

                    11   Plaintiffs and their Receiver authority to finance and oversee the “completion of pistachio and

                    12   almond harvest for all properties of Borrowers, whether or not such specific properties are subject

                    13   to deeds of trust in favor of Plaintiffs” 1 – would self-evidently entangle non-parties like the MetLife

                    14   Entities in the Plaintiff-Defendant relationship in a manner to which the MetLife Entities never

                    15   agreed to or even negotiated.

                    16             Styled as an emergency effort to save the Defendants’ pistachio harvest, the Plaintiff’s

                    17   $32MM lending initiative, creates de facto and equitable relationships with third parties like the

                    18   MetLife Entities, who have not been approached with any specific proposal, should there be one,

                    19   as to what will happen if and when Plaintiffs seek reimbursement for completion of pistachio and

                    20   almond harvesting (or other activities) on property that Plaintiffs appear to admit they do not

                    21   already possess an interest or priority interest in. (See Dkt # 33, at 4: 22-25). The lack of detail and

                    22   information in the Proposed Order or discussions around it makes it impossible for MetLife Entities

                    23   to know whether and to what extent they should intervene in this matter.

                    24             2.        The Recommended Solution to the Problem Presented by the Proposed Order.

                    25             Should the Proposed Order enter, the MetLife Entities request that any order granting relief

                    26   provide the Plaintiffs undertake to lend at their own risk without limiting or affecting in any way

                    27

                    28   1
                             See Dkt # 33, at 4: 22-25 (emphasis added).
STOEL RIVES LLP          OBJECTION TO [PROPOSED]
 ATTORNEYS AT LAW
   SACRAMENTO
                         ORDER APPOINTING RECEIVER                             -2-                                         _____
                         WITH LIMITED AUTHORITY
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                         Case 1:24-cv-01102-KES-SAB Document 44 Filed 09/24/24 Page 3 of 3


                     1   any security or lien rights existing in favor of secured creditor of the Defendants like the MetLife

                     2   Entities. In addition, MetLife Entities request that any final order include a statement that the Order

                     3   does not prevent MetLife Entities from filing their own actions to enforce their own contractual

                     4   and lien rights and/or seek their own orders for receivership over their respective interests in

                     5   Borrowers’ real property or personalty in which MetLife Entities hold an interest. Finally, MetLife

                     6   Entities respectfully request that any Receiver appointed by the Order shall cooperate with the

                     7   MetLife Entities and provide any reports required of the Farming Defendants or Receiver to

                     8   MetLife Entities as a lender on Receivership Property.

                     9

                    10   Dated: September 24, 2024                              STOEL RIVES LLP

                    11

                    12                                                          /s/ Thomas A. Woods
                                                                                THOMAS A. WOODS
                    13                                                          MICHELLE J. ROSALES
                    14                                                          Attorneys for Interested Third Parties and
                                                                                Potential Intervenors METROPOLITAN
                    15                                                          LIFE INSURANCE COMPANY,
                                                                                BRIGHTHOUSE LIFE INSURANCE
                    16                                                          COMPANY, and METLIFE REAL ESTATE
                                                                                LENDING LLC
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STOEL RIVES LLP          OBJECTION TO [PROPOSED]
 ATTORNEYS AT LAW
   SACRAMENTO
                         ORDER APPOINTING RECEIVER                           -3-                                         _____
                         WITH LIMITED AUTHORITY
                         125647013.1 0053564-00653 Include Draft
